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                Exhibit A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 –––––––––––––––––––––––––––––––––––––– x
                                        :
 UNITED STATES OF AMERICA
                                        :                     22 Cr. 673 (LAK)
             v.
                                        :
 SAMUEL BANKMAN-FRIED,
                                        :
                         Defendant.
                                        :
 –––––––––––––––––––––––––––––––––––––– x


                              DECLARATION OF DAVID SUN

David Sun declares pursuant to 28 U.S.C. § 1746 as follows:

       1.      I am over 18 years of age, of sound mind, and otherwise competent to make this

Declaration. The evidence set out in the foregoing Declaration is based on my personal

knowledge.

       2.      I have almost 30 years of professional experience in the fields of technology,

computer networking, cybersecurity and computer forensics. I am currently an independent

consultant specializing in computer forensics and cybersecurity. Prior to becoming an

independent consultant, I was the Principal in charge of the cyber forensics and incident response

practice at CliftonLarsonAllen (CLA), a Top 10 accounting firm. I came to that role through

CLA’s acquisition of my prior company SunBlock Systems, a consulting firm that specialized in

cyber security, computer forensics and technology consulting where I was the Founder and Chief

Executive Officer starting in 2002. I have personally conducted numerous computer forensic

examinations and served as an expert for the private and public sectors, including a number of

government agencies.

       3.      I was also the co-founder and Chief Technology Officer (CTO) of S34A, Inc., a

company that performed advanced research in computer forensics for the Department of
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Homeland Security and other government agencies. As CTO, I was responsible for the

company’s overall research efforts as we developed advanced computer forensics techniques and

equipment for various United States government law enforcement agencies.

       4.      In addition, during the late 1990’s, I was a Senior Network Engineer and Manager

of Emerging Technology at UUNET/MCI, one of the first commercial Internet service providers

(ISPs) that provided Tier 1 networking for much of the Internet during the dawn of the public

Internet. Through my tenure at UUNET I became familiar with Virtual Private Networks (VPNs)

as they were among the emerging technologies invented, refined and adopted for widespread use

with the Internet during that time.

       5.      I am a Certified Information Systems Security Professional (CISSP) (arguably the

most respected certification available for information systems security professionals), a Certified

Computer Examiner (CCE), and an EnCase Certified Examiner (EnCE). I graduated from

Virginia Polytechnic Institute and State University (aka Virginia Tech) with a Bachelor of

Science and a Master of Science Degree in Electrical Engineering, and I have been an Adjunct

Professor at George Mason University and a faculty member for the Virginia and Massachusetts

State Bar’s continuing education programs teaching courses on computer forensics and

electronic evidence. I am regularly invited to speak at technical conferences and at government

agencies on advancements in the field of computer forensics. I have been awarded multiple

patents for inventions in the field of computer forensics, and I have authored numerous technical

publications covering topics of interest in the fields of computer forensics, electromagnetics, and

telecommunications.

       6.      I have testified as an expert witness or provided expert support in numerous

litigation matters, including but not limited to matters involving digital data, computer forensics


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and the various technologies and techniques used to obfuscate computer activity. I have also

served as an expert or managed a team of experts involved in numerous complex matters

involving data breaches, IT security, computer forensics and e-Discovery.

             7.   I submit this Declaration in support of the February 15, 2023 letter submission to

the Court by counsel to Defendant Sam Bankman-Fried.

             8.   I have reviewed the Court’s order dated February 1, 2023, indicating that Mr.

    Bankman-Fried may not “use any encrypted or ephemeral call or messaging application,

    including but not limited to Signal.” 1 In addition, I reviewed various letters from the

    government discussing the need for this restriction and describing their concerns that

    applications such as Signal and Slack may encrypt their messages and be configured to

    autodelete messages after a short period of time, impeding the government’s investigation. 2

        9.        As an expert in technology with significant experience with Internet networking,

VPNs and encrypted or ephemeral messaging applications, it is my opinion that messaging

platforms (ephemeral or not) are technically and functionally different and unrelated to VPN

technology.

I.      Overview of Encrypted or Ephemeral Messaging Applications

          10.     Electronic messaging applications have existed for decades. AOL Instant

Messenger is one of the early platforms gaining popularity in the 1990’s. Over time users

realized that these messages tended to linger and could be retrieved from either the sender’s or

recipient’s device. Ephemeral messaging applications were created to allow people to send

messages, knowing they will be deleted after a certain period of time. Snapchat is arguably the


1
 See February 1, 2023 Memorandum and Order, ECF No. 58.
2
 See January 27, 2023 Letter from United States Attorney Damian Williams to Honorable Lewis A. Kaplan, ECF
No. 50; January 30, 2023 Letter from United States Attorney Damian Williams to Honorable Lewis A. Kaplan, ECF
No. 53.
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most well known of these applications. However, despite being deleted, these messages are still

recoverable through forensic recovery techniques on the devices or through the eavesdropping of

the message in transit (i.e., wiretapping). Encrypted messaging applications such as Signal make

use of end-to-end encryption allowing only the sender and recipient the ability to decrypt the

message if they provide a passcode. Messages intercepted in transit, even by the platform

provider, are unintelligible as are messages forensically recovered from a device’s memory

storage. In short, this technology is designed for people to send messages to each other in a way

that those intercepting them in transit or examining the sending or receiving devices, are unable

to access the message without a decryption key (or password) provided by a user.

II. Overview of VPN Network Technology

       11.     VPN technology was created for and is generally used to extend a private network

across a public network, such as the Internet. The most common use of VPNs is by corporations,

government organizations and other large employers to securely allow a remote employee to

access internal systems as if they were connected internally. In other words, they are designed to

make the remote employee’s computer appear to be inside a corporation’s physical network

(historically inside the company office) instead of their physical location. Encryption is

deployed with VPN technology to keep the data from being susceptible to eavesdropping, much

the same way that normal online credit transactions are also encrypted to protect credit card

information.

       12.     Over the last decade, VPNs have been used in other ways as well. Consumer

VPN Providers have emerged for personal use, serving as an intermediary between a user and a

third-party such as a website or other online content provider. When used in this way, the VPN

Provider establishes a “VPN tunnel” between a user and a third-party system. When using a


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VPN Tunnel, data between the remote user and a third-party system flows through the VPN

Provider’s system. When data is tunneled, the IP address 3 for Internet traffic from the remote

user is replaced by an IP address from the VPN Provider. This temporary IP address is assigned

from the VPN Provider’s allocation of IP addresses, and it is different from the remote user’s

true IP address. Because these temporary IP addresses are assigned to the VPN Provider, all

internet traffic sent between the end user and a third-party appears as if it originated from the

VPN Provider.

        13.      An analogy to how a VPN Tunnel operates is a PO Box at the post office. The

user rents a PO Box from the postal service (equivalent to the VPN Provider). Instead of giving

out his home address (computer IP address), the user provides the PO Box (VPN Provider’s IP

address). When a third party sends mail to the user (data from a third-party system) it goes to the

PO Box for pickup or possible delivery by carrier to the user’s home. From the Third Party’s

perspective, he only communicated with the PO Box (VPN Provider) and he cannot identify the

user’s home address (computer IP address).

III. VPN Tunnels Are Popular for Allowing Users to Change their Apparent Location

        14.      Computer traffic on the Internet does not contain any geographical information

about the sender or recipient. Since this geographic information can be useful, many systems

attempt to infer a user’s geographic location based on the IP address of their user’s computer.

Similar to using the area code of a caller to infer where a person is calling from, the IP address of

a computer can infer who the network provider is and where they serve the user.

        15.      However, in the same way that people can now request a number with any area

code, assign it to a mobile phone travelling around the country and making the inference of a


3
 An IP address is the computer equivalent of a phone number. In order for a computer to communicate with other
devices over the Internet, it must have a unique IP address.
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caller’s location from their area code inaccurate, users can use VPN Providers to create VPN

Tunnels and change the location. In short, instead of making a remote employee’s computer

appear to be located inside the office building to enable secure data transfer, VPN technology is

now commonly used to make a user’s computer appear to be located in a location other than their

home.

        16.    Using VPN Tunnels to change a user’s apparent location may be used for various

legitimate purposes. As an example, the Google search engine strives to provide highly relevant

results. As part of that effort for relevance, they place significant weight on a user’s location as a

person in New York searching for “ice cream shop nearby” would not want to learn about ice

cream shops in Paris, France. However, one can imagine how a VPN tunnel could be useful if

you seek results relevant to a different geographic location (e.g., a listing of ice cream shops in

Paris, France). Another popular example where people often use a VPN tunnel to change their

location is with the Internet video streaming service Netflix which provides different titles based

on a user’s geographic location.

IV. Encrypted or Ephemeral Messaging Applications and VPNs are Very Different

        17.    As described above, encrypted or ephemeral messaging applications are designed

to provide a method for passing messages privately between people using techniques such as

encryption and autodeletion. VPNs, which do not have any autodeletion features, are a

mechanism designed to emulate a computer being in a different location than their physical

presence. While both technologies use encryption, their core uses are very different from a

technology perspective, and a prohibition on using encrypted or ephemeral messaging or phone

applications would not be regarded in the technology field as a prohibition on the use of VPNs.




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The two technologies have substantially different functions and use cases and I consider any

technical risks with using them to be different.



       I declare under penalty of perjury that the foregoing is true and correct. Executed on
February 15, 2023.



Dated: Great Falls, VA
       February 15, 2023                                    ________________________
                                                            David Sun




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